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                        Exhibit 2
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                                     RIO GRANDE NATIONAL FOREST - COURT FILING RECORD INDEX
FOLDER            BATES NUMBER           DOCUMENT TITLE             DATE                 AUTHOR       DESCRIPTION
                                                                       01. Forest Plan
                                                                                                      Rio Grande National Forest – Assessments 1 through 15–
01ForestPlan       00000001 - 00000820   001_201603_Assessments           3/00/2013 Forest Service    Executive Summaries
                                         002_20200511_RioGrandeL
01ForestPlan       00000821 - 00001084   andManagementPlan                5/00/2020 Forest Service    Land Management Plan
                                         003_20190802_AltBmod_Fi                                      RGNF Land Management Plan Alternative B – Modified-
01ForestPlan       00001085 - 00001085   nalPlan.pdf                        8/2/2019 Forest Service   MAP
                                         004_20190802_ForestPlan
01ForestPlan       00001086 - 00001114   Maps.pdf                           8/2/2019 Forest Service   RGNF Land Management Plan 29 Map series

                                         005_20190709_DraftPlan_F                                     Table tracking changes to plan components between
01ForestPlan       00001115 - 00001170   inalPlan_Compare.pdf           7/9/2019 Forest Service       issuing Draft Forest Plan and Final Forest Plan.
                                                               02. Policy & Guidance
02PolicyAndGuidanc
e                  00001171 - 00001183   01_19761022_NFMA.pdf           10/22/1976 Congress           National Forest Management Act Of 1976
                                                                                                      Forest Service Manual – Rocky Mountain Region (Region
                                                                                                      2) 2600 –Wildlife, Fish, & Sensitive Plant Habitat
02PolicyAndGuidanc                       02_20110525_FSM2670_TE                                       Management Chapter2670 –Threatened, Endangered &
e                  00001184 - 00001205   S.pdf                            5/25/2011 Forest Service    Sensitive Plants & Animals
02PolicyAndGuidanc                       03_20120409_FedRegisterP
e                  00001206 - 00001320   lanRule.pdf                        4/9/2012 Forest Service   National Forest System Land Management Planning
                                         04_20150103_FSM1920_La
02PolicyAndGuidanc                       ndManagementPlanning.pd
e                  00001321 - 00001362   f                                  1/3/2015 Forest Service   Forest Service Manual for Land Management Planning

02PolicyAndGuidanc                       05_20150128_FederalReigs                                     Federal Register publication of 36 CFR 212 and 261 for
e                  00001363 - 00001375   ter36CFRParts212_261.pdf         1/28/2015 Forest Service    Travel Management

02PolicyAndGuidanc                       06_20150130_FSH1909.12C                                      Forest Service Handbook -Chapter20 – Land Management
e                  00001376 - 00001509   hapter 20_ForestPlan.pdf        1/30/2015 Forest Service     Plan
                                                               03. Need For Change (NFC)

                                                                                                                                                               ϭ
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                                        001_20160700_NeedToCha                Erin Minks, Judi Need to change document developed from Assessments,
03NeedForChange   00001510 - 00001548   nge.pdf                     7/00/2016 Perez            public meetings and comments received.
                                        002_20160316_SLVEC_A2_
                                        Comment_SLV_Air_Toxics_                               San Luis Valley Ecosystem Council Attachment to
03NeedForChange   00001549 - 00001557   Analysis.pdf                3/16/2012 Kyle Olson, EPA assessment comments on Air Toxics Analysis
                                        003_20160100_SLVEC A 13
                                        Cultural and Historic                                 San Luis Valley Ecosystem Council comments on draft
03NeedForChange   00001558 - 00001561   Comments.pdf                1/00/2016 SLVEC           assessment 13 – Cultural and Historic Resources
                                        004_20160100_SLVEC A7
                                        Ecosystem Services                                    San Luis Valley Ecosystem Council comments on draft
03NeedForChange   00001562 - 00001565   Comments.pdf                1/00/2016 SLVEC           assessment 7 – Ecosystem Services

                                        005_20160100_SLVEC A10
                                        Minerals and Geologic                                 San Luis Valley Ecosystem Council comments on draft
03NeedForChange   00001566 - 00001569   Hazards Comments.pdf        1/00/2016 SLVEC           assessment 10 – Energy, Minerals and Geologic Hazards

                                        006_20160100_SLVEC_A_6                                San Luis Valley Ecosystem Council comments on draft
03NeedForChange   00001570 - 00001573   _Comments_Social.pdf        1/00/2016 SLVEC           assessment 6 – Social, Cultural and Economic Conditions

                                        007_20160100_SLVEC_A_1                                San Luis Valley Ecosystem Council comments on draft
03NeedForChange   00001574 - 00001575   2_Tribal_Comments.pdf       1/00/2016 SLVEC           assessment 12 – Areas of Tribal Importance

                                        008_20160100_SLVEC_A2_                                San Luis Valley Ecosystem Council comments on draft
03NeedForChange   00001576 - 00001581   Comments_ Air_Quality.pdf   1/00/2016 SLVEC           assessment 2- Air Quality
                                        009_20160100_SLVEC_A14                                San Luis Valley Ecosystem Council comments on draft
                                        _Lands_Status_and_Owner                               assessment 14- Land Status and Ownership, Use, and
03NeedForChange   00001582 - 00001584   ship_Comments.pdf           1/00/2016 SLVEC           Access Patterns
                                        010_20160100_SLVEC_Asse
                                        ssment_2_Soil_Comments.                               San Luis Valley Ecosystem Council comments on draft
03NeedForChange   00001585 - 00001587   pdf                         1/00/2016 SLVEC           assessment 2 – Soils



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                                        011_20160100_SLVEC_Lan
                                        ds_Assessment_boundary_                             Table showing RGNF Administrative Roadless and
03NeedForChange   00001588 - 00001588   disparities.pdf           1/00/2016 SLVEC           Wilderness Boundary Disparities with other NFs.

                                        012_20160100_SLVEC_Lan
                                        ds_Comments_BLM_Bound                               Table showing RGNF Administrative Boundary Disparities
03NeedForChange   00001589 - 00001589   ary_Discrepancies.pdf     1/00/2016 SLVEC           with BLM.

                                        013_20160120_SLVEC                  Tom Sobal,
                                        Assessment Cover                    Rocky Smith,
03NeedForChange   00001590 - 00001590   Letter.pdf                1/20/2016 Christine Canaly SLVEC Assessment Cover Letter

                                                                            Tom Sobal,
                                        014_20160120_SLVEC_Asse             Rocky Smith,
03NeedForChange   00001591 - 00001617   ssment_comments.pdf       1/20/2016 Christine Canaly SLVEC Assessment Cover Letter + content & comments

                                                                            Tom Sobel,
                                                                            Rocky Smith,
                                        015_20160300_SLVEC_A 9              Roz McClellan, San Luis Valley Ecosystem Council comments on draft
03NeedForChange   00001618 - 00001636   Recreation Comments.pdf   3/00/2016 Christine Canaly assessment 9 – Recreation

                                                                            Tom Sobel,
                                                                            Rocky Smith,
                                        016_20160300_SLVEC_A_8              Roz McClellan, San Luis Valley Ecosystem Council comments on draft
03NeedForChange   00001637 - 00001640   _Scenic_Comments.pdf      3/00/2016 Christine Canaly assessment 8.1-Scenic character

                                                                            Tom Sobel,
                                        017_20160300_SLVEC_A8_              Rocky Smith,
                                        Multiple_Use_Comments.p             Roz McClellan, San Luis Valley Ecosystem Council comments on draft
03NeedForChange   00001641 - 00001646   df                        3/00/2016 Christine Canaly assessment 8 -Multiple Uses




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                                                                               Tom Sobel,
                                        018_20160318_SLVEC_A_1                 Rocky Smith,
                                        _3_4_5_11_15_Combined_                 Roz McClellan, San Luis Valley Ecosystem Council comments on draft
03NeedForChange   00001647 - 00001670   Comments.pdf                 3/18/2016 Christine Canaly assessment Combined comments

                                                                               Tom Sobel,
                                        019_20160318_SLVEC_A1-                 Rocky Smith,
                                        3_Terrestrial_Comments.pd              Roz McClellan, San Luis Valley Ecosystem Council comments on draft
03NeedForChange   00001671 - 00001678   f                            3/18/2016 Christine Canaly assessments 1 &3 -Terrestrial Ecosystems


                                                                               Rocky Smith,
                                                                               Christine
                                                                               Canaly, Tom
                                                                               Sobel, Roz
                                                                               McClellan,
                                                                               Alison
                                                                               Gallensky, John
                                        020_20160415_SLVECRSmit                R Mellgren,
                                        h_Need_for_Change_Com                  Lauren McCain, Combined comments on Need for Change – includes over-
03NeedForChange   00001679 - 00001708   ments_final.pdf              4/15/2016 Vera Smith      snow use, CRR, riparian protection, etc.


                                                                               Rocky Smith,
                                                                               Christine
                                                                               Canaly, Tom
                                                                               Sobal, , Alison
                                                                               Gallensky, John
                                        021_20160822_SLVEC                     R Mellgren,
                                        SMITH_TWS Initial Proposal             Lauren McCain, Comments on Need for Change and initial proposal (draft
03NeedForChange   00001709 - 00001722   comments.pdf                 8/22/2016 Vera Smith      proposed action).


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                                                                              Vera Smith, on
                                                                              behalf of Dr.
                                                                              Aaron Hall, Dr.
                                                                              Lauren McCain,
                                                                              Allison
                                                                              Gallensky,
                                                                              Christine
                                        022_20160708_TWS_SLVEC                Canaly, John R.
                                        _Et_Al_A 1-                           Mellgren, Rocky Comments on Assessment Chapter 1,2, and 3 and related
                                        3_Aquatics_Riparian_comm              Smith, Tom      portions of the Need For Change regarding water and
03NeedForChange   00001723 - 00001807   ents.pdf                     7/8/2016 Sobal           water resources. Includes citations and sources.
                                        023_20141125_TWS
                                        Assessment Appendix 4                                 Ecosystem representation in the RGNF. Comments on
03NeedForChange   00001808 - 00001893   FINAL_ecorep.pdf           11/25/2014 TWS             draft assessment.
                                        024_20150826_TWS.Assess               TWS, National
                                        ment appendix                         Wildlife        Opportunities for Wildlife Corridors in Upper Rio Grande
03NeedForChange   00001894 - 00001902   3_connectivity.pdf          8/26/2015 Federation      Watershed- 9 Map Series

                                                                              Vera Smith,
                                        025_20160209_TWSetal_as               Lauren McCain, Comments on Chapter 15 designations, wildlife
                                        sessmentcomments_2016_                Meredith       movement, ecological integrity, landscape processes and
03NeedForChange   00001903 - 00001935   final.pdf                    2/9/2016 McClure        species. Includes citations.

                                        026_20160423_TWS_Asses                Vera Smith,   Comments on draft assessment 11 – Infrastructure.
03NeedForChange   00001936 - 00002024   sment_11_Comments.pdf       4/23/2016 Lauren McCain Includes including citations and sources.
                                        027_20160424_Defenders_                             Comments on draft assessment and draft need for
03NeedForChange   00002025 - 00002061   NFC_Assess_cmts.pdf         4/23/2016 Lauren McCain change.

                                        028_20160822_DefendersP               Peter Nelson, Comment Letter on proposed plan revision framework
03NeedForChange   00002062 - 00002062   lanFrameworkCmts.pdf        8/22/2016 Lauren McCain and crosswalk (July 2016)



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                                                                                                   Additional comments received from other parties/public
                                        029_20141224_OtherNeed                                     on draft assessments, need for change and initial proposal
03NeedForChange   00002063 - 00002186   ForChangeComments.pdf           12/24/2014 14+             documents.
                                                                       04. Scoping
                                                                                                   The Rio Grande National Forest Plan: Proposed Action.
                                        001_20160900_ProposedAc                                    Proposed action released in Federal Register September
04Scoping         00002187 - 00002231   tion.pdf                        09/00/2016 Forest Service  2016.
                                                                                   Economic
                                                                                   Profile System-
                                                                                   Human
                                        002_20150000_SLVEC BASI                    Dimensions
                                        Comment 2015 Alamosa                       Toolkit (EPS-   2015 Alamosa Tourism Report, attachment to SLVEC
04Scoping         00002232 - 00002236   Tourism Report.pdf               1/23/2015 HDT)            comments on proposed action.
                                        003_20150226_SLVEC BASI                                    A Profile of Development & the Wildland-Urban Interface
                                        Comment Development in                                     (WUI). Attachment to SLVEC comments on proposed
04Scoping         00002237 - 00002245   WUI.pdf                          2/26/2015 EPS-HDT         action.
                                        004_20150226_SLVEC BASI
                                        Comment SLV Socio                                          A Profile of Socioeconomic Measures. Attachment to
04Scoping         00002246 - 00002269   Economic Profile.pdf             2/26/2015 EPS-HDT         SLVEC comments on proposed action.

                                        005_20150226_SLVEC BASI
                                        Comment Travel and                                         A Profile of Industries that Include Travel & Tourism.
04Scoping         00002270 - 00002284   Tourism Industry Profile.pdf     2/26/2015 EPS-HDT         Attachment to SLVEC comments on proposed action.




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                                                                       Rocky Smith,
                                                                       Christine
                                                                       Canaly, Alan
                                                                       Apt, Jimbo
                                                                       Buickerood,
                                                                       Alison
                                                                       Gallensky, Matt
                                                                       Reed, John R
                                                                       Mellgren, Scott
                                  006_20161028_SLVEC_R_S               Braden, Tom
                                  mith_RM_Wild_Quiet_Use               Sobal, Greg          Rocky Mountain Wild Comment Letter on Proposed
04Scoping   00002285 - 00002341   _Et_al_Scoping.pdf        10/28/2016 Dyson                Action
                                  007_20161025_TWSFormLe               Approximately        Form letter comments on Proposed Action submitted on
04Scoping   00002342 - 00002380   tters39.pdf            10/25-26/2016 39                   behalf of The Wilderness Society.

                                  008_20170308_TheWildern                                   Proposed Management Direction for aquatic and
                                  essSociety_DefendersLetter               Joshua Hicks,    terrestrial connectivity for consideration in FS and BLM
04Scoping   00002381 - 00002395   R2_R3.pdf                       3/8/2017 Lauren McCain, planning processes in the upper Rio Grande landscape
                                  009_20161024_DefendersF                                   Form letter comments on Proposed Action submitted on
04Scoping   00002396 - 00002407   ormLetters11.pdf           10/24-27/2016               11 behalf of Defenders of Wildlife.
                                  010_20161028_Defenders                   Peter Nelson,
04Scoping   00002408 - 00002619   Scoping comments.pdf          10/28/2016 Lauren McCain Defenders of Wildlife comment letter on Proposed Action
                                  011_20161026_WELC                                         Attachment to comments from Western Environmental
04Scoping   00002620 - 00002767   Scoping Comments I.pdf        10/26/2016 multiple         Law Center (306 pages) – climate.
                                  012_20161026_WELC
                                  Scoping Comments II                                       Attachment to comments from Western Environmental
04Scoping   00002768 - 00003073   IPCC.pdf                      10/26/2016 multiple         Law Center (148 pages) – species.

                                  013_20161026_WELC
                                  Scoping Comments III                                      Attachment to comments from Western Environmental
04Scoping   00003074 - 00003199   Climate Action Tracker.pdf    10/26/2016 multiple         Law Center (126 pages) – climate.


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                                  014_20161114_WELC                      James Brown,
                                  Scoping Comments IV                    Elizabeth
                                  Coarse Woody Debris                    Reinhardt, Kylie Attachment to WELC Comments. Coarse Woody Debris:
04Scoping   00003200 - 00003384   BASI.pdf                    11/14/2016 Kramer           Managing Benefits & Fire Hazard in the Recovering Forest
                                  015_20160900_OtherScopi                                 Scoping comments received from participants not
04Scoping   00003385 - 00003600   ngComments.pdf              09/00/2016 multiple         included in litigation.
                                                               05. TES
                                  000_CanadaLynxSpeciesOv
05TES       00003601 - 00003611   erview                                  Forest Service   Canada Lynx (Lynx canadensis) Species Overview
                                                                                           Endangered and Threatened Wildlife & Plants;
                                  001_20000324_Threatened                                  Determination of Threatened Status for the Contiguous
                                  StatusLynx_DPS_FR_v65_N                                  U.S. Distinct Population Segment of the Canada Lynx and
05TES       00003612 - 00003647   o_58                         3/24/2000 Forest Service    Related Rule

                                  002_20140600_LynxFactSh                CO Parks &
05TES       00003648 - 00003649   eet_CPW_Reintroduction       6/00/2014 Wildlife          Lynx Reintroduction

                                                                                          Endangered and Threatened Wildlife & Plants; Revised
                                                                                          Designation of Critical Habitat for the Contiguous United
                                  003_20140912_Lynx_CH_F                 DOI Fish &       States Distinct Population Segment of the Canada Lynx
05TES       00003650 - 00003715   R_v79_No177_USFWS            9/12/2014 Wildlife Service and Revised Distinct Population Segment Boundary
                                                                         Forest Service &
                                  004_20160418_FINAL Lynx                other gov
05TES       00003716 - 00003780   SSA EE Workshop Report 2     4/18/2016 agencies         Canada Lynx Expert Elicitation Workshop

                                  005_20180111_SSA_Report                U.S. Fish and    Species Status Assessment for the CANADA LYNX (Lynx
05TES       00003781 - 00004080   _CanadaLynx                  1/11/2018 Wildlife Service canadensis)
                                  006_20180517_RGNF_Lynx
                                  SpruceBeetle_Monte Vista               John Squires et
05TES       00004081 - 00004133   CO                           5/18/2018 al              Lynx Habitat Ecology in Beetle-Impacted Forests
                                                                                         Peer reviewed article: Sharing the same slope: Behavioral
                                  007_20180626_Lynx_Winte                Lucretia Olson responses of a threatened mesocarnivore to motorized
05TES       00004134 - 00004151   rRecreation_Olson_Squires    6/26/2018 et al           and nonmotorized winter recreation

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                                   008_20170214_UFBSpecies                                    Uncompahgre Fritillary Butterfly (Boloria (improba)
05TES        00004152 - 00004154   Overview                       2/14/2017 Forest Service    acrocnema) Species Overview
                                   009_20170727_RMU_Allot                                     RGNF- Plan Revision- Draft- EIS- Range: Grazing
05TES        00004155 - 00004155   ments                          7/27/2017 Forest Service    Allotments- MAP

                                   010_20180000_UFB_5year                    DOI Fish &       Uncompahgre Fritillary Butterfly (Clossíana ímproba
05TES        00004156 - 00004185   Review                               2018 Wildlife Service acrocnema) 5-Year Review: Summary & Evaluation
                                                                06. Wildlife
                                                                             Forest Service &
                                   001_20130608_LCAS_revis                   other gov
06Wildlife   00004187 - 00004319   ed_3rd_ed                        6/8/2013 agencies         Canada Lynx Conservation Assessment and Strategy
                                   002_20180611_IPaC List for                                 Letter with Updated list of threatened and endangered
                                   RGNF Plan Revision                        DOI Fish &       species that may occur in proposed project location for
06Wildlife   00004320 - 00004335   Western CO ERO                 6/11/2018 Wildlife Service Western CO
                                                                                              Letter with Updated list of threatened and endangered
                                   003_20180711_IPaC List for                DOI Fish &       species that may occur in proposed project location for
06Wildlife   00004336 - 00004352   RGNF Plan Revision CO ERO      7/11/2018 Wildlife Service Colorado
                                                                                              Letter with Updated list of threatened and endangered
                                   004_20180711_IPaC List                    DOI Fish &       species that may occur in proposed project location for
06Wildlife   00004353 - 00004360   RGNF Plan revision NM ERO      7/11/2018 Wildlife Service New Mexico
                                   005_20180928_RGNF_Plan
06Wildlife   00004361 - 00004481   Revision_FINAL_BA              9/28/2018 Forest Service    Final Biological Assessment

                                   006_20200309_TEPC_Speci                  DOI Fish &       Letter with Updated list of threatened and endangered
06Wildlife   00004482 - 00004497   es List_USFWS                   3/9/2020 Wildlife Service species that may occur in proposed project location
                                   007_20210402_USFS_SRLA
06Wildlife   00004498 - 00004505   _Report_2020.pdf                4/2/2021 Forest Service    Southern Rockies Lynx Report, 2020
                                                                 07. DEIS
                                   001_021709_RGNFPlanRevi
07DEIS       00004506 - 00005059   sionDEIS.pdf                  09/00/2017 Forest Service    Rio Grande National Forest Plan Revision-DEIS
                                   002_20170728_AltA_Maps.                                    Rio Grande National Forest Plan Revision-DEIS-
07DEIS       00005060 - 00005061   pdf                            7/28/2017 Forest Service    Alternative A Map series


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                               003_20170728_AltB_Maps.                               Rio Grande National Forest Plan Revision- DEIS-
07DEIS   00005062 - 00005064   pdf                        7/28/2017 Forest Service   Alternative B Map series
                               004_20170728_AltC_Maps.                               Rio Grande National Forest Plan Revision- DEIS-
07DEIS   00005065 - 00005065   pdf                        7/28/2017 Forest Service   Alternative C Map series
                               005_20170728_AltD_Maps.                               Rio Grande National Forest Plan Revision- DEIS-
07DEIS   00005066 - 00005068   pdf                        7/28/2017 Forest Service   Alternative D Map series

                               006_20171222SLVEC_PlusA              SLVEC Christine Comments plus attachments from San Luis Valley
07DEIS   00005069 - 00006999   ttchmnts.pdf              12/22/2017 Canaly          Ecosystem Council
                               007_20171228_SJCA
                               Comments Rio Grande
07DEIS   00007000 - 00007005   DEIS.pdf                  12/28/2017 SJCA             SJCA Comments
                               008_20171228_WELC_Shan
                               non
                               Laun_CommentsDEIS_Draft              WELC Shannon     Western Environmental Law Center Shannon Laun
07DEIS   00007006 - 00007203   ForestPlan.pdf            12/28/2017 Laun             Comments
                                                                    Defenders of
                                                                    Wildlife, The
                                                                    Wilderness
                                                                    Society,
                                                                    Western
                                                                    Environmental
                                                                    Law Center,      Comments plus attachments from Defenders of Wildlife,
                               009_20171229DefendersPl              WildEarth        The Wilderness Society, Western Environmental Law
07DEIS   00007204 - 00013186   usAtthmnt.pdf             12/29/2017 Guardians        Center, WildEarth Guardians
                               010_20170000_OtherCom                Local and Gov    Other comments from Local and Gov. agencies and
07DEIS   00013187 - 00015529   ments.pdf                       2017 agencies         organizations

                               011_2107_2018LateComm                Public and local
07DEIS   00015530 - 00015644   ents.pdf                   2017-2018 gov agencies     Late comments from the public and local gov agencies
                                                                    Tom Troxel,
                               012_20171115_28Extensio              Peter Nelson,
07DEIS   00015645 - 00015648   nRequests.pdf             11/15/2017 Dan Dallas       Comment extension requests and replies

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                                                                  08. Draft Forest Plan
                                          001_20170900_DraftRevise
08DraftForestPlan   00015649 - 00015882   dLandMgmtPlan.pdf             09/00/2017 Forest Service     RGNF Draft Revised Land Management Plan
                                          002_DraftForestPlanMaps.
08DraftForestPlan   00015883 – 00015897   pdf                                  2017 Forest Service    RGNF Draft Revised Land Management Plan 15 map series
                                                              09. Draft Record of Decision
09DraftRecordOfDec
ision              00015898 - 00015939    20190802_DraftROD.pdf        8/2/2019 Forest Service        Draft Record of Decision RGNF Land Management Plan
                                                             10. Administrative Review
10AdministrativeRev                       001_20190930_RockySmith                 Rocky Smith
iew                 00015940 - 00016064   EtAl_Objection.pdf          9/30/2019 +more                 Objection Letter

10AdministrativeRev                       002_20190927_SJCA_Objec                   San Juan Citizen
iew                 00016065 - 00016328   tion_Attchmnts.pdf              9/27/2019 Alliance         SJCA Objection & Attachments

10AdministrativeRev                       003_20191001_DOW_WEL                      Defenders of
iew                 00016329 - 00016432   C_TWS_WEGObjection.pdf          10/1/2019 Wildlife         Objection Letter
                                                                                    Multiple
10AdministrativeRev                       004_201909_OtherObjecto                   (public), Forest
iew                 00016433 - 00017550   rs.pdf                          9/00/2019 Service          Other Objector Letters and Forest Service Reply Letters
10AdministrativeRev                       005_20200310_ObjectionR
iew                 00017551 - 00017638   esponse_Final.pdf                3/10/2020 Forest Service Reviewing Officer Response to Eligible Objections
                                                                   11. Biological Opinion
                                          20190315_FWS_KBroderdo
                                          rp_Letter_Multi_RGNF
                                          Forest                                      DOI Fish &      Response to Formal Consultation Letter- Biological
11BiologicalOpinion 00017639 - 00017663   Plan_SIGNED_BO.pdf               3/15/2019 Wildlife Service Opinion
                                                     12. Final Environmental Impact Statement (FEIS)
                                          001_20200402RGNFLandM
12FEIS              00017664 - 00018263   gmtPlanFEISVol1.pdf               4/2/2020 Forest Service RGNF- Land Management Plan- FEIS: Volume I

                                          002_20200402RGNFLandM                                       RGNF- Land Management Plan- FIES: Volume II- Appendix
12FEIS              00018264 - 00018505   gmtPlanFEISVol2.pdf              4/2/2020 Forest Service    D: Public Involvement & Response to Comments
                                                                                                                                                               ϭϭ
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                                           003_20200402RGNFLandM
                                           gmtPlanFEISVol1and2_Errat
12FEIS               00018506 - 00018515   a.pdf                          4/2/2020 Forest Service      RGNF Land Management Plan- FEIS: Volume I and II Errata
                                           004_20190802_AltAMaps.p                                     Rio Grande National Forest Plan Revision- Alternative A
12FEIS               00018516 - 00018519   df                             8/2/2019 Forest Service      Map series
                                           005_20190802_AltBMaps.p                                     Rio Grande National Forest Plan Revision- Alternative B
12FEIS               00018520 - 00018529   df                             8/2/2019 Forest Service      Map series
                                           006_20190802_AltCMaps.p                                     Rio Grande National Forest Plan Revision- Alternative C
12FEIS               00018530 - 00018534   df                             8/2/2019 Forest Service      Map series
                                           007_20190802_AltDMaps.p                                     Rio Grande National Forest Plan Revision- Alternative D
12FEIS               00018535 - 00018540   df                             8/2/2019 Forest Service      Map series
                                           008_20190802_OtherResou
12FEIS               00018541 - 00018545   rceMaps.pdf                    8/2/2019 Forest Service      Other Resource Maps – 5 map series
                                                              13. Record Of Decision (ROD)
                                           20200511RGNF_LMP_ROD.                                       Record of Decision Rio Grande National Forest Land
13RecordOfDecision 00018546 - 00018614     pdf                           5/11/2020 Forest Service      Management Plan

13RecordOfDecision 00018615 - 00018615     20200518_ROD_Errata.pdf      5/18/2020 Forest Service       ROD Errata
                                                            14. Revised Biological Opinion

14. Revised                                20210209_RevisedBiOP_Co                   DOI Fish &       Revised Biological Opinion for the Rio Grande National
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